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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 21CR40(TNM)

 DAVID LEE JUDD,

                     Defendant.



                  MR. JUDD’S MOTION TO DISMISS COUNTS

      David Lee Judd, through undersigned counsel, and pursuant to Federal Rule

pursuant to Rule of Criminal Procedure 12(3)(B)(v), hereby respectfully requests that

the Court dismiss Counts thirty-eight (38) and forty-six (46) the Fifth Superseding

Indictment, which charge him with disorderly and disruptive conduct in a restricted

building or grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. §§

1752(a)(2) and (b)(1)(A)), and engaging in physical violence in a restricted building or

grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. §§1752(a)(4)

and (b)(1)(A)), respectively.

                                  BACKGROUND

      The Fifth Superseding Indictment alleges various counts against Mr. Judd

relating to the events at the Capitol on January 6, 2021. This motion concerns counts

thirty-eight and forty-six of the counts against Mr. Judd, which allege that Mr. Judd

entered and remained on the Capitol grounds unlawfully during a time when it was

“restricted,” within the meaning of 18 U.S.C. § 1752(a)(1), (c)(1)(B). Section 1752(a)(1)

criminalizes the act of unlawfully entering and remaining in certain areas, and it
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defines those areas. Specifically, subsection (a)(1) makes it illegal to “knowingly

enter[] or remain[] in any restricted building or grounds without lawful authority to

do so” or to “attempt[] or conspire[] to do so.” 18 U.S.C. § 1752(a)(1). And subsection

(c) defines “restricted buildings or grounds” as follows:

             (1)    the term “restricted buildings or grounds” means
                    any posted, cordoned off, or otherwise restricted
                    area—

                    (A)   of the White House or its grounds, or the Vice
                          President’s official residence or its grounds;

                    (B)   of a building or grounds where the President
                          or other person protected by the Secret Service
                          is or will be temporarily visiting; or

                    (C)   of a building or grounds so restricted in
                          conjunction with an event designated as a
                          special event of national significance.

Id. § 1752(c)(1). In addition, the statute defines “other person protected by the Secret

Service” to mean “any person whom the United States Secret Service is authorized to

protect under section 3056 of this title or by Presidential memorandum, when such

person has not declined such protection.” Id. § 1752(c)(2). The Vice President is a

Secret Service-protectee. Id. § 3056(a)(1).

   A. Counts 38 and 46 depend on the Vice President’s presence at the
      United States Capitol building on January 6, 2021, qualifying as a
      “temporary visit.”

   Counts 38 and 46 allege violation of 18 U.S.C. § 1752(a)(1) and (a)(4) on the theory

that Mr. Judd entered and remained in the Capitol building and grounds at a time

when they were “restricted” by reason of the Vice President’s “temporarily visiting”

the building. See Indict. ¶ 38 and 46; see also 18 U.S.C. § 1752(a)(1), (c)(1)(B). Thus,


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Counts 38 and 46 rise and fall on the Vice President being a Secret Service protectee

who can “temporarily visit” the Capitol, within the meaning of the statute. In light of

these allegations, the nature of the Vice President’s relationship to Congress and the

Capitol building is central to Counts 38 and 46.

    The Vice President is an institutional player in Congress. Their role in the Senate

is embedded in the very structure of the Legislative Branch: they serve as the

President of the Senate and are responsible for providing the tie-breaking vote. U.S.

CONST. art. I, § 3, cl. 4. The Vice President routinely is present in the Capitol building

to fulfill their constitutional obligations. By way of example, Vice President Pence

traveled to the Senate thirteen times in his tenure just to cast tie-breaking votes;

meanwhile, Vice President Kamala Harris visited the Senate fifteen times in 2021

alone to cast tie-breaking votes. 1 Further, the Constitution and federal law obligate

the Vice President, at a set date and time, to preside over and participate in the

process by which electoral votes for the office of the Presidency and Vice Presidency

are opened, counted, and certified. U.S. CONST. amend. XII; 3 U.S.C. § 15.

    To that end, the Vice President has a dedicated, permanent office reserved for their

use in the Senate. That office has existed since at least the early nineteenth century. 2

The Vice President’s “close proximity . . . to the Senate chamber has allowed the vice

president easy access to the members when the Senate is in session,” including




1
  U.S. Senate, Votes to Break Ties in the Senate, https://tinyurl.com/ye8t4nu8 (last
visited Mar. 10, 2022) [hereinafter “Votes to Break Ties in the Senate”].
2
    U.S. Senate, About the Vice President (President of the Senate),
https://tinyurl.com/2p8n43y9 (last visited Mar. 10, 2022).
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“lobbying senators to vote against legislation [s]he oppose[s] and frequently lecturing

senators on procedural and policy matters.” 3 The Vice President’s Room in the Senate

building has hosted “ceremonial functions, informal party caucuses, press briefings,

and private meetings” for decades. 4 Unsurprisingly, given its frequent and important

use, the office is not a drab holding space; it is appointed with mahogany furniture, a

marble fireplace mantel, and fine art. 5 In contrast to their longstanding office in

Congress, the Vice President did not have an office in the West Wing of the White

House until 1977. 6

                                    ARGUMENT

      The Court must dismiss any count in the indictment that fails to state an

offense. Fed. R. Crim. P. 12(b)(3)(B)(v). An indictment must “inform the defendant of

the precise offense of which he is accused so that he may prepare his defense and

plead double jeopardy in any further prosecution for the same offense.” United States

v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014). And Rule 7(c) of the Federal Rules of




3  Office of the Senate Curator, The Vice President’s Room, S. Pub. 106–7,
https://tinyurl.com/3wyb9web (last visited Mar. 10, 2022) [hereinafter “The Vice
President’s Room”], at 3 (first quotation); see U.S. Senate, About the Vice President —
Historical Overview, https://tinyurl.com/46rhuwyk (last visited Mar. 10, 2022)
[hereinafter “Historical Overview”] (second quotation) (describing “active role” of
John Adams).
4 The Vice President’s Room, supra note 3, at 3.
5 Id. at 4–6.
6 “Mondale was the first vice president to have an office in the West Wing of the White

House.” The career of Walter Mondale, Carter’s vice president, in pictures, NBC, Apr.
19, 2021, https://tinyurl.com/5bxc5xns; accord Brock Brower, The Remaking of the
Vice President, N.Y. TIMES, June 5, 1977, https://tinyurl.com/7td4wu7f (“Jimmy
Carter allowed Fritz Mondale not just Whi[t]e House-room but his pick of any office
that wasn’t oval.”).
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Criminal Procedure “effectuates that understanding, requiring an indictment to

contain ‘a plain, concise, and definite written statement of the essential facts

constituting the offense charged.’” United States v. Williamson, 903 F.3d 124, 130

(D.C. Cir. 2018) (quoting Fed. R. Crim. P. 7(c)(1)).

      It is not enough for an indictment simply to parrot the statute and its generic

terms. To survive a defendant’s motion to dismiss, the indictment must set forth, on

its face, the “essential facts” of the offense and “descend to particulars,” beyond

statutory boilerplate. Fed. R. Crim. P. 7(c)(1); Russell v. United States, 369 U.S. 749,

765 (1962); United States v. Ballestas, 795 F.3d 138, 148–49 (D.C. Cir. 2015). In other

words, “the indictment may use the language of the statute, but that language must

be supplemented with enough detail to apprise the accused of the particular offense

with which he is charged.” United States v. Conlon, 628 F.2d 150, 155 (D.C. Cir. 1980).

      The indictment’s sufficiency is based on its four corners. The court “is limited

to reviewing the face of the indictment, and more specifically, the language used to

charge the crimes.” United States v. Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009)

(emphasis in original). “Adherence to the language of the indictment is essential

because the Fifth Amendment requires that criminal prosecutions be limited to the

unique allegations of the indictments returned by the grand jury.” United States v.

Hitt, 249 F.3d 1010, 1016 (D.C. Cir. 2001).

      These pleading requirements align with the twin aims of an indictment. First,

they ensure that it “furnish[es] the accused with such a description of the charge

against him as will enable him to make his defense, and avail himself of his conviction



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or acquittal for protection against a further prosecution for the same cause; and,

second, . . . [that it] inform[s] the court of the facts alleged, so that it may decide

whether they are sufficient in law to support a conviction, if one should be had.”

Hunter v. District of Columbia, 47 App. D.C. 406, 409–10 (D.C. Cir. 1918); accord

Hamling v. United States, 418 U.S. 87, 117 (1974); United States v. Hillie, 227 F.

Supp. 3d 57, 78–79 (D.D.C. 2017) (criminal charges must “be specific enough to

protect defendants from th[e] danger” of double jeopardy; the allegations must

“establish the boundaries of the charged conduct” so that “a future prosecution for

conduct arising out of these same charges would be barred”). As such, the sufficiency

of the allegations in an indictment dovetail with a criminal defendant’s rights under

the Fifth and Sixth Amendments and the court’s ability to answer questions of law

concerning the charges. 7

      The indictment against Mr. Judd fails to adequately allege a violation of either

§ 1752(a)(1) or 1752(a)(4). Specifically, Counts 38 and 46 do not allege the “restricted




7
  Courts in this District regularly dismiss counts in indictments that do not allege
“essential facts.” See, e.g., Mem. Op., United States v. Miller, Case No. 21-cr-119
(CJN) (D.D.C. Mar. 7, 2022), ECF No. 72 [hereinafter “Miller slip op.”], at 28–29 (in
Capitol breach case, dismissing count that failed to allege violation of § 1512(c)(2));
United States v. Guertin, Case No. 1:21-cr-262 (TNM), 2022 WL 203467 (D.D.C. Jan.
24, 2022) (dismissing indictment that failed to allege violations of §§ 1343 and
1512(c)(2)); United States v. Payne, 382 F. Supp. 3d 71, 74–77 (D.D.C. 2019)
(dismissing charge under § 922(g)(1)); Hillie, 227 F. Supp. 3d at 72–74 (dismissing
child pornography-related charges); United States v. Singhal, 876 F. Supp. 2d 82, 95–
96 (D.D.C. 2012) (dismissing charges under § 1001); Sunia, 643 F. Supp. 2d at 69, 78–
81 (dismissing counts that failed to allege offenses under § 666(a)(1) and § 1505);
United States v. Brown, Case No. 07-75 (CKK), 2007 WL 2007513, at *3–5 (D.D.C.
July 9, 2007) (dismissing counts that failed to allege violation of § 1512(c)(2)).
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buildings or grounds” element of § 1752(a)(1). Accordingly, both Counts must be

dismissed.

I.    Count 38 and 46 must be dismissed because they fail to allege a
      violation of § 1752(a)(1).

      For Counts 38 and 46 to allege the “restricted buildings or grounds” element of

§ 1752(a)(1), as charged, the Capitol must be a place the Vice President is

“temporarily visiting” when presiding over the opening, counting, and certification of

electoral votes. The meaning of “temporarily visiting” and, in turn, the sufficiency of

the allegations in Count Five, are questions of law for the Court to decide. See United

States v. Jabr, Crim. No. 18-0105 (PLF), 2019 WL 13110682, at *6–7 (D.D.C. 2019).

      For the reasons discussed below, these Counts cannot stand. “Temporarily

visiting” does not encompass travel to and from one’s own office or place of business.

And if the term could plausibly encompass that conduct (contrary to the ordinary

person’s understanding), then it is ambiguous and lenity counsels in favor of the

narrower construction. Because the Government chose to proceed exclusively on a

narrow “temporarily visiting” theory, Counts 38 and 46 must be dismissed.

      A.     The Vice President does not “temporarily visit” the United
             States Capitol building when fulfilling their constitutional
             obligations.

             1.     The ordinary person understands that even the Vice President does
                    not “temporarily visit” their own office.

      The phrase “temporarily visiting” is not defined by the statute, so its ordinary

meaning, fixed at the time of enactment, controls. See, e.g., Burrage v. United States,

571 U.S. 204, 210–12 (2014) (where Controlled Substances Act did not define “results

from,” the Court gave that phrase its “ordinary meaning”). Based on dictionary

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definitions of “temporarily” and “visiting” from about 1971, when § 1752 was enacted,

“someone is ‘temporarily visiting’ a location if they have gone there for a particular

purpose, be it business, pleasure or sight-seeing, and for a limited time, which could

be brief or extended while nonetheless remaining temporary.” United States v.

McHugh, Crim. Action No. 21-453 (JDB), 2022 WL 296304, at *20 (D.D.C. Feb. 1,

2022) (internal quotation marks omitted).

      Two guardrails attend that definition. First, the phrase “temporarily visiting”

includes an implicit normally-lives-or-works carveout, because the ordinary person

would not “describe an ordinary commute from home to one’s regular workplace as

‘temporarily visiting’ the office.” Id. at *22; see Wooden v. United States, 595 U.S. ___,

___, Case No. 20-5279, 2022 WL 660610, at **4–5 (2022) (construing “occasions” in

§ 924(e)(1) in light of “how an ordinary person . . . might describe” it “and how she

would not” (emphasis added)); see also, e.g., Young v. United States, 943 F.3d 460, 463

(D.C. Cir. 2019) (construing “imposed” in § 401(c) of the First Step Act according to

its “ordinary usage”). Second, “temporarily visiting” should not be interpreted as

though it means “physically present”—that is not what Congress wrote. See McHugh,

2022 WL 296304, at *22. If Congress wanted to define “restricted building or grounds”

to encompass anywhere a Secret Service protectee is or will be physically present,

then it would have omitted the phrase “temporarily visiting” or actually written

“physically present.”

      It follows that Vice President Pence was not “temporarily visiting” the Capitol

when fulfilling his constitutional obligations. Instead, he was simply going to work.



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The Constitution obligates the Vice President to be physically present in the Senate

with some frequency, not only to preside over the opening, counting, and certification

of electoral votes every four years but also to cast tie-breaking votes as needed on

legislation and judicial nominations. And the number of times Vice Presidents Pence

and Harris have been present in Congress over the last five years solely to provide

tie-breaking votes—28 times—speaks to the frequent, routine nature of the Vice

President’s work in the Capitol. 8 In other words, the Vice President does not

“temporarily visit” the Capitol—they work there.

      That conclusion is consistent with the weight of history. The Vice President

has had an office in Congress and conducted official business from that office since

nearly the Founding. Historically, vice presidents are in the Capitol not only for the

electoral vote certification, but also to cast tie-breaking votes, lobby senators, and

hold “informal party caucuses, press briefings, and private meetings” from that

office. 9 And, critically, when Congress enacted § 1752 in 1971, the Vice President did

not even have an office in the West Wing. 10 In other words, Congress enacted

§ 1752(a)(1) with the background understanding that the Vice President’s office

historically has been and remained in the Capitol building. See, e.g., Abuelhawa v.

United States, 556 U.S. 816, 823–24 (2009) (declining to interpret 21 U.S.C. § 843(b)

to reach a result in conflict with the background understanding against which

Congress legislated). Accordingly, there is no reason to think that, at the time it



8
  Votes to Break Ties in the Senate, supra note 1.
9
  The Vice President’s Room at 3; Historical Overview, supra note 4.
10 See Pub. L. No. 91–644, 84 Stat. 1891 § 18 (Jan. 2, 1971).


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enacted § 1752, Congress understood the Capitol to be somewhere the Vice President

“temporarily visit[s].”

      A more capacious reading of “temporarily visiting” would transform that

phrase into a mere “physically present” requirement. Treating the Vice President’s

performance of her constitutional obligations in her established place of work as a

“temporary visit” blurs the distinction between travel to ordinary places of business

for repeat purposes and limited travel to a location “for a particular purpose . . . and

for a limited time.” See McHugh, 2022 WL 296304, at *20 (internal quotation marks

omitted). As the court in McHugh pointed out, the dictionary definition of

“temporarily visiting,” coupled with commonsense and everyday experience, means

§ 1752(c)(1)(B) refers to the latter, not the former. See id. Otherwise, everywhere the

Vice President travels outside her residence would qualify as somewhere she is

“temporarily visiting.” And if Congress wanted to define “restricted building or

grounds” to encompass anywhere the President or a Secret Service protectee is or will

be physically present, then it would have done so. See id. at *22; see also, e.g., Fresco

Cmty. Hosp. & Med. Ctr. v. Cochran, 987 F.3d 158, 162 (D.C. Cir. 2021) (where

plaintiffs’ preferred interpretation simply was “not what the statute says,” court of

appeals declined to “scrub up for statutory surgery, excising some words and

engrafting others,” in order to adopt it).

      The poor fit of treating the Capitol as a “restricted building” under

§ 1752(c)(1)(B) merely on account of the Vice President’s physical presence there to

do her job is cast in high relief when compared to the statute’s application in other



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cases. For example, courts have held that “temporarily visiting” reaches an area near

an airport hangar and a portion of a park restricted by the Secret Service ahead of a

rally at which the President or Vice President appeared. See United States v. Bursey,

416 F.3d 301 (4th Cir. 2005) (airport hangar); United States v. Junot, 902 F.2d 1580

(9th Cir. 1990) (unpublished) (park). Airport hangars and parks are natural fits for

the phrase “temporarily visiting,” given the ordinary person’s understanding that she

“temporarily visits” a location where the person does not normally live or work. See

McHugh, 2022 WL 296304, at *21. Meanwhile, the Vice President’s time in the

Capitol, where she has a permanent office and frequently appears to fulfill her

constitutional obligations, is entirely unlike a brief stop in an airport hangar or park

to give a one-off speech. See also Jabr, 2019 WL 13110682, at *7–10 (plain meaning

of “the White House or its grounds” in § 1752(c)(1)(A) did not include “the U.S.

Treasury Building and its grounds”).

             2.     The court in McHugh reached a contrary decision based on faulty
                    reasoning.

      Upon information and belief, at least three courts—including this Court in the

Griffin trial—have addressed the application of Section 1752 to January 6 cases.

Recently, Judge Nichols gave the government one week to correct the Indictment in

response to the issue that Mr. Judd raises here. 11 Prior to Judge Nichols’s Order in

Fischer, the court in McHugh reached a contrary conclusion based on what Mr. Judd


11
   Judge Nichols’s Order reads: with regards to Counts Four and Five, the
Government has 14 days to either amend the Superseding Indictment to allege that
one of then Vice President Pence’s family members attended the certification of the
electoral vote at the Capitol on January 6 or to explain to the Court why it will not do
so. United States v. Fischer, 1:21CR234, ECF No. 65.
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respectfully submits was faulty reasoning. This Court referenced the McHugh

decision in its oral ruling denying a similar argument made by defendant Griffin,

however, in that case, the Court did not have the benefit of full briefing on the issue

noted that “Mr. Griffin did actually elicited very little testimony about how often the

vice president does visit the Capitol.” 12 In McHugh, the court declined to apply the

ordinary meaning of “temporarily visiting,” including its normally-live-or-work

carveout, to the allegations that the Capitol was “restricted” due to the Vice

President’s presence there. It reasoned that “the Vice President’s working office is in

the West Wing” and “anyone with a working knowledge of modern American

government” understands that the Vice President “is principally an executive officer

who spends little time at the Capitol and likely even less in her ‘office’ there.”

McHugh, 2022 WL 296304, at *22. Thus, according to McHugh, Vice President Pence

was “temporarily visiting” his own office at the Capitol (even though the ordinary

person understands that one does not “temporarily visit” one’s own office) because

the Vice President has another office that everyone knew he used more frequently.

In other words, in shoehorning this theory into § 1752(c)(1)(B), the court rejected the

ordinary person’s understanding of what “temporarily visiting” means when it comes

to the Vice President, specifically, without any basis in the statutory text.

         Mr. Judd respectfully submits that that logic creates fair notice problems. Due

process requires that “a penal statute define the criminal offense with sufficient

definiteness that ordinary people can understand what conduct is prohibited.” See



12
     United States v. Griffin, 21CR92, Trial Transcript, March 22, 2022, at pp. 333-334
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Kolender v. Lawson, 461 U.S. 352, 357 (1983). Nothing in the statutory text signals

to the reader that the ordinary meaning of “temporarily visiting” applies to the Vice

President differently than any other Secret Service protectee. Plus, under McHugh’s

reasoning, the regularity of the Vice President’s physical presence in the Capitol

building, judged against “modern” practice, dictates whether they are “temporarily

visiting” that building, which, in turn, dictates whether an individual is unlawfully

in a “restricted area.” This means the statute’s reach expands and contracts based on

fluid, unidentified factors—the frequency with which the Vice President casts a tie-

breaking vote, their personal preference for working in their Senate office, their

travel schedule, etc. Such indeterminacy provides no parameters by which the

ordinary person can discern when the Vice President is “temporarily visiting” the

Capitol and, in turn, know when the building is “restricted” for purposes of

§ 1752(a)(1); it specifies “no standard of conduct at all.” See United States v.

Bronstein, 849 F.3d 1101, 1107 (D.C. Cir. 2017) (quoting Coates v. Cincinnati, 402

U.S. 611, 614 (1971)); see also, e.g., United States v. Davis, 588 U.S. ___, ___, 139 S.

Ct. 2319, 2324, 2336 (2019) (holding that § 924(c)(3)(B) is unconstitutionally vague,

given that its “language, read in the way nearly everyone (including the government)

has long understood it, provides no reliable way to determine which offenses qualify

as crimes of violence”).

      A comparison is helpful and further counsels against reaching the same result

as in McHugh. In United States v. Class, the D.C. Circuit recently assessed whether

40 U.S.C. § 5104(e), which prohibits the possession of firearms on the grounds of the



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Capitol, was unduly vague on account of the law making it difficult to determine

whether a certain parking lot fell within the restricted area. 930 F.3d 460 (D.C. Cir.

2019). The Court of Appeals held that the law was not vague because it defined the

restricted area “by a map and a specific list of intersections and streets that are part

of the public law,” meaning, “[a] citizen concerned about violating the ban need not .

. . speculate about the uses the various parcels of land. He must simply . . . open the

statute book—even if here he may need two.” Id. at 468–69. By comparison, under

McHugh’s reading of § 1752(c)(1)(B), the ordinary person could not look to a statute

book (or even along a “circuitous route” of resources) to determine if the Capitol

building is “restricted” on account of the Vice President “temporarily visiting” it. Cf.

Class, 930 F.3d. at 467. Instead, the law would be fluid and subject to sudden change.

Indeed, even if the “ordinary person” is someone “with a working knowledge of

modern American government” (which the defense doubts; contra McHugh, 2022 WL

296304, at *22), they would have no reason to think the modern Vice President “likely

spends little time” in their Senate office based on recent observations—Vice

Presidents Pence and Harris have been in the Capitol nearly thirty times in the last

few years just to provide a tiebreaker vote. As such, McHugh’s interpretation of

§ 1752(c)(1)(B) does not provide the “sufficient definiteness” that due process

requires.

      B.     To the extent “temporarily visiting” is ambiguous, principles of
             lenity and constitutional avoidance counsel in favor of a
             narrower construction.

      At    best,   the   term   “temporarily   visiting”   is   ambiguous.   The   most

straightforward (and correct) reading of “temporarily visiting” is the one McHugh
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discerned and should have applied: a Secret Service protectee’s travel to a location

for a particular purpose and lasting a limited time, excluding travel to and from the

protectee’s own place of work. Alternatively, as the court in McHugh concluded, the

phrase might be read more broadly to reach a Secret Service protectee’s temporary

travel to their own office, provided the ordinary person knows that, in recent years,

the protectee does not spend much time in that office (but instead, uses another

office). 2022 WL 296304, at *22.

      Principles of lenity demand that the court adopt the narrower construction. A

defendant should not suffer surprise at the hands of an ambiguous law; “when the

government means to punish, its commands must be reasonably clear.” SCALIA &

GARNER at 299; accord Wooden, 2022 WL 660610, at *15 (Gorsuch, J., concurring)

(“Lenity works to enforce the fair notice requirement by ensuring that an individual’s

liberty always prevails over ambiguous laws.”). Thus, when a reasonable doubt

persists about a statute’s meaning even after employing tools of statutory

interpretation to try to resolve it, the court should adopt the reading that favors the

defendant. See Moskal v. United States, 498 U.S. 103, 108 (1990); accord, e.g., United

States v. Villanueva-Sotelo, 515 F.3d 1234, 1246 (D.C. Cir. 2008) (rule of lenity, as

described in Moskal, supported adopting narrower construction of 18 U.S.C. §

1028A(a)(1)). 13 Here, applying the rule of lenity, the Court should read “temporarily



13
  There is ambiguity in the case law over the level of ambiguity required to trigger
the rule of lenity. While some statements from the Supreme Court suggest the rule
applies only where there is a “grievous ambiguity,” the rule’s historical origins
indicate a less stringent standard. See, e.g., Wooden, 2022 WL 660610, at *17
(Gorsuch, J., concurring) (“This ‘grievous’ business does not derive from any well-
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visiting” in § 1752(c)(1)(B) to exclude the Vice President’s trips to her own office—

whether in the Capitol building or the West Wing. That reading is consistent with

the ordinary person’s understanding of the phrase and avoids a vague and obscure

description of when a protectee’s travel to a place triggers criminal liability under

§ 1752(a)(1) for those in the vicinity. And it accords with the course the Supreme

Court has charted. See, e.g., Scheidler v. Nat’l Org. for Women, Inc., 537 U.S. 393, 403

n.8, 408–09 (2003) (applying rule of lenity when construing “obtain” in the Hobbs Act

and favoring “the familiar meaning of the word” over a “vague and obscure”

description); Miller slip op. at 28 (after concluding § 1512(c)(2) was subject to “two

plausible interpretations,” adopting the narrower interpretation in light of principle

of lenity and dismissing count for failure to allege an offense within that narrower

meaning); Guertin, 2022 WL 203467, at **3–4 (to the extent any question remained

about whether indictment alleged an offense under § 1343 based on whether

“obtaining money or property” could mean “maintaining money or property,” lenity

counseled in favor of resolving that ambiguity in defendant’s favor; count dismissed).




considered theory about lenity or the mainstream of this Court’s opinions. Since the
founding, lenity has sought to ensure that the government may not inflict
punishments on individuals without fair notice and the assent of the people’s
representatives.”); Miller slip op. at 9 (describing conflicting standards for applying
rule of lenity); see also SCALIA & GARNER at 298–99 (acknowledging various standards
exist for applying rule of lenity and opining that Moskal-stated standard most closely
aligns with the rule’s policy interest in visiting the consequences of an ambiguous law
“on the party more able to avoid and correct the effects of shoddy legislative
drafting”). Even if the standard is “grievous ambiguity,” rather than persistent doubt,
lenity counsels in favor of the narrower construction of § 1752(c)(1)(B) at issue here.
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      Similarly, principles of constitutional avoidance counsel in favor of adopting

the reading of the statute that does not raise questions about the statute’s legitimacy.

The presumption of constitutionality and the constitutional-doubt canon allow the

judiciary to uphold ambiguous legislation. The former “holds that courts should, if

possible, interpret ambiguous statutes to avoid rendering them unconstitutional” and

the latter “militates against not only those interpretations that would render the

statute unconstitutional but also those that would even raise serious questions of

constitutionality.” Davis, 139 S. Ct. at 2332 & n.6; SCALIA & GARNER at 247–48. In

light of the due process concerns that attend construing the statute to reach a Secret

Service protectee’s travel to and from their own office, contrary to ordinary

understanding and based on that individual protectee’s personal predilections and

practices, this Court should decline to adopt that reading. See, e.g., United States v.

Cano-Flores, 796 F.3d 83, 91–94 (D.C. Cir. 2015) (constitutional avoidance principles

counseled reading statute not to authorize imposition of forfeiture based on total

revenue of conspiracy on mid-level manager defendant, given Eighth Amendment

concerns).

      C.     Counts 38 and 46 should be dismissed for failure to allege an
             offense.

      It follows that Counts 38 and 46 must be dismissed because its allegations

simply do not align with the statute’s text. A person does not “temporarily visit” their

own office or place of business, even when that person is the Vice President of the

United States. Accordingly, these Counts must be dismissed because its allegations,

even if proven, would not be sufficient to permit a jury to find a violation of

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§ 1752(a)(1) was committed. See, e.g., Guertin, 2022 WL 203467, at *2–6 (dismissing

count that could not state an offense under § 1343 as a matter of law based on theory

alleged; wire fraud statute does not criminalize scheme to “maintain” something);

Payne, 382 F. Supp. 3d at 76–77 (dismissing indictment that could not state an

offense under § 922(g)(1) as a matter of law based on theory alleged; prior convictions

had been expunged by certificates that did not expressly include prohibition on

firearm possession and, therefore, could not support § 922(g)(1) charge); Brown, 2007

WL 2007513, at *3–5 (dismissing counts in indictment that failed to allege violation

of § 1512(c)(2) as a matter of law based on theory alleged; D.C. Superior Court grand

jury allegedly obstructed was not a “Federal grand jury” within the meaning of

§ 1515(a)(1)).

      If there is a hole in the statute, then it is for the legislature, not the judiciary,

to patch. Congress can write another law if it decides § 1752(a)(1) should reach the

allegations here. But stretching § 1752(c)(1)(B) to fit this indictment is not the

solution. Instead, “[r]espect for due process and the separation of powers suggests a

court may not, in order to save Congress th[at] trouble, . . . construe a criminal statute

to penalize conduct it does not clearly proscribe.” Davis, 139 S. Ct. at 2333. The

Constitution envisions that expansions of law come from Congress, not courts. See,

e.g., Scheidler, 537 U.S. at 409 (“a significant expansion of the law’s coverage must

come from Congress, and not from the courts.”).

      To be clear, concluding that the allegations here fall outside the ambit of

§ 1752(c)(1)(B) does not undermine the government’s ability to prosecute those who



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enter the Capitol building or grounds unlawfully or those who threaten the Secret

Service’s protection of the Vice President. The government has plenty of other

provisions in the United States Code to prosecute similar alleged misconduct, and it

has done so in numerous other cases arising from the Capitol breach. See, e.g., 18

U.S.C. § 3056(d); 40 U.S.C. § 5104(e)(2)(D), (E), (G); Judgment, United States v.

Nelson, Case No. 21-cr-344-1 (JDB) (D.D.C. Dec. 15, 2021), ECF No. 58 (conviction

for violating 40 U.S.C. § 5104(e)(2)(G) arising from Capitol breach). 14 Further, the

government remains free to prosecute violations of § 1752(a)(1) based on the Vice

President’s travel to any other location “for a particular purpose . . . and for a limited

time” that is not a trip to her own office building. Cf. McHugh, 2022 WL 296304, at

*20. Put simply, the government had other charging choices, and it chose wrongly

here. Counts 38 and 46 must be dismissed.

                                                Respectfully Submitted,

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14
  A search of the Department of Justice’s “Capitol Breach Cases” chart indicates that
there have been at least 331 prosecutions for violations of 40 U.S.C. § 5104 arising
from the Capitol breach on January 6, 2021. Capitol Breach Cases, U.S. DEP’T OF
JUSTICE,      https://www.justice.gov/usao-dc/capitol-breach-cases?combine=picketing
(last visited Mar. 10, 2022) (search for “picketing” (used in 40 U.S.C. § 5104(e)(2)(G))
identifies 331 results).
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                                    ______/s/____________________
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